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9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12
     BASF CORPORATION, et al.                  Case No. 2:20-cv-02586-GW(Ex)
13
                                Plaintiffs,
14                                             JOINT STATUS REPORT
     vs.
15
     CAL-TRON PLATING, INC., et al.            Status Conference:
16                                             Date:    March 3, 2022
                                Defendants.    Time: 8:30 a.m.
17
                                               Place: 350 W. 1st Street
18                                                      Courtroom 9D, 9th Floor
                                                        Los Angeles, CA 90012
19
                                               Judge: Hon. George H. Wu
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1          Plaintiffs BASF Corporation et al. (“Plaintiffs”) and the undersigned defendants
2    (“Defendants”) (collectively, the “Parties”) hereby submit this Joint Status Report in
3    anticipation of the March 3, 2022 Scheduling Conference.
4          The Parties have been able to agree upon a schedule for this case with the
5    exception of the trial date. In pertinent part, the Parties (1) agree on the number of
6    weeks before trial that pre-trial deadlines should be scheduled, (2) agree on a three-
7    month stay of litigation beginning on January 1, 2023 during which they will explore
8    settlement, (3) agree that Plaintiffs will provide, with their Initial Disclosures, a
9    summary of their past costs as described below in Section A.2, below, and (4) agree
10   that Plaintiffs will provide Defendants an oral presentation discussing Plaintiffs’ total
11   past costs and an estimate of Plaintiffs’ future costs as described in Section A.2,
12   below.
13         The only scheduling issue that the Parties disagree on is the setting of a trial
14   date. More specifically, Plaintiffs contend it is premature to set a trial date at this
15   nascent stage of the case, and Defendants contend that a trial date should be set now.
16   A.    Areas of Agreement
17         The Parties have come to an agreement on the following matters:
18         1.     Initial Disclosures: The Parties will exchange Initial Disclosures 45 days
19   from the date that the Court enters its Scheduling Order. Plaintiffs’ Initial Disclosures
20   will not include response cost information with one exception: Plaintiffs will provide
21   a summary of their past costs incurred through late 2021, along with a description of
22   the basic categories of costs and subtotals that make up that total.
23         2.     Total Response Cost Presentation. The Parties have agreed that
24   Plaintiffs will provide Defendants with an oral presentation discussing Plaintiffs’ total
25   past response costs, including a generic description of the basic categories of those
26   costs and subtotals that make up the total, and an estimate of Plaintiffs’ future
27   response costs, along with the total dollar amount collected to date through
28   settlements with Potentially Responsible Parties (“PRPs”) other than Omega Property

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1    PRPs. The provisions of Federal Rule of Evidence 408 shall apply to the presentation
2    which Defendants agree not to disclose to any third parties. Nothing in this section
3    A.2 regarding the Total Response Cost Presentation is intended to limit a party’s right
4    to discovery or to oppose any discovery.
5          3.     Fact Discovery. The Parties may engage in fact discovery following
6    their exchange of Initial Disclosures. However, Defendants will not propound
7    response cost related discovery before October 1, 2022.
8          4.     Three-Month Stay to Focus on Settlement. The Parties agree to a
9    three-month stay of litigation beginning on January 1, 2023 and ending on March 31,
10   2023 during which time they will focus their efforts on settling this matter based on
11   information obtained through initial disclosures, fact discovery conducted to date, and
12   the Total Response Cost Presentation described above. During the stay, the Parties
13   will respond to discovery propounded prior to December 8, 2022, and hearings on any
14   calendared discovery motions will proceed. In addition, written discovery to third
15   parties will be allowed during the stay. At the end of the stay period, the Parties will
16   notify the Court whether they have reached an agreement and/or the status of their
17   settlement negotiations. The Parties further agree that the stay may be extended by
18   mutual agreement of the Parties.
19         5.     Scheduling of Pre-Trial Deadlines. The Parties have agreed on the
20   minimum time before trial by which all pre-trial deadlines should be scheduled once a
21   trial date is set, as more specifically set forth below:
22

23                            Pre-trial Matter                            Time Before Trial
24                                         Fact Discovery
25    Fact Discovery Cutoff: Deadline to Serve Remaining Fact                 62 Weeks
26    Discovery
27    Deadline to Respond to Fact Discovery Served on Fact                    56 Weeks
28    Discovery Cutoff Date

                                                   2
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1                           Pre-trial Matter                       Time Before Trial
2    Last Day to Request Conference of Counsel re Fact Discovery       55 Weeks
3    Motion [L.R. 37-1]
4    Last Day to File Fact Discovery Motion                            51 Weeks
5    Last Day to Hear Fact Discovery Motion                            47 Weeks
6    Last Day to Complete Discovery Under Order Re Discovery           43 Weeks
7    Motion Relating to Fact Discovery
8    Last Day to Add Parties                                           43 Weeks
9                                     Expert Discovery
10   Expert Disclosures Due Pursuant to Fed. R. Civ. P. 26(a)(2)       42 Weeks
11
     Last Day to Complete Expert Deposition [Fed. R. Civ. P.           37 Weeks
12
     26(a)(2)]
13
     Expert Disclosures Pursuant to FRCP 26(a)(2)(D)(ii)               32 Weeks
14
     Last Day to Complete Deposition of Expert Disclosed               27 Weeks
15
     Pursuant to Fed. R. Civ. P. 26(a)(2)(D)(ii)
16
     Last Day to Request Conference of Counsel re Discovery            25 Weeks
17
     Motion Relating to Expert Discovery [L.R. 37-1]
18
     Last Day to File Expert Discovery Motion                          21 Weeks
19
     Last Day to Hear Expert Discovery Motion                          18 Weeks
20
     Last Day to Complete Expert Discovery                             14 Weeks
21
                                  Other Pre-Trial Matters
22
     Last Day to Conduct Conference of Counsel Prior to Filing         12 Weeks
23
     Motions in Limine/Daubert Motion [L.R. 7-3]
24
     File Submittals required by Sec. 2 of Judge Wu’s Standing     21 days before Pre-
25
     Order Re Final Pre-Trial Conferences                           Trial Conference
26
     Last Day to File Motions in Limine/Daubert Motions                11 Weeks
27
     Lodge Pre-Trial Conference Order [L.R. 16-7.1]                11 days before Pre-
28
                                                                    Trial Conference

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1                             Pre-trial Matter                              Time Before Trial
2     File Oppositions to Motions in Limine/Daubert Motion                   Per Local Rules
3     Meet & Confer deadline for Sec. 3 Submittals                           Per Local Rules
4     File Submittals required by Sec. 3 of Judge Wu’s Standing             5 days before Pre-
5     Order Re Final Pre-Trial Conferences                                   Trial Conference
6     File Replies in Support of Motions in Limine/ Daubert Motion           Per Local Rules
7     Last Day to Conduct Conference of Counsel Prior to Filing                  10 Weeks
8     Motion for Summary Judgment/Partial Summary Judgment
9     Pursuant to L.R. 7-3
10    Last Day to File Motion for Summary Judgment / Partial                     9 Weeks
11    Summary Judgment
12    Last Day to Complete Mandatory ADR (Private Mediation)                     8 Weeks
13
      Last Day to Hear Motions in Limine/Daubert Motions                         8 Weeks
14
      Last Day to Hear Motions for Summary Judgment/Partial                       6 weeks
15
      Summary Judgment
16
      Final Pretrial Conference                                                   4 weeks
17

18   B.     Area of Disagreement

19          The Parties only disagree as to one matter that is, accordingly, left for the Court

20   to decide: whether a trial date should be set now, or whether one should be set at a

21   later date.

22          Plaintiffs’ Position. Plaintiffs contend that no trial date should be set until, at a

23   minimum, the stay to conduct settlement discussions is lifted. Until then, it would be

24   premature to set a date given the uncertainties attendant to discovery, including the

25   fact that discovery may reveal the need to add new parties, the fact that the availability

26   of discoverable information regarding the environmental conditions at Defendants’

27   properties may depend upon the timing of actions taken by state regulatory authorities

28   overseeing remedial activities at those properties, and the fact that a trial may be
     entirely unnecessary if a settlement is reached during the stay period. In addition,
                                                   4
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1    even if the case is not entirely disposed of during the stay period, the number of
2    parties that remain and issues to be tried may be significantly narrowed.
3             Defendants’ Position. Defendants have been wrapped up in this litigation for
4    almost two years and have not been able to conduct basic fact discovery to ascertain
5    the facts supporting Plaintiffs’ legal contentions against the Defendants. Only now
6    are Defendants finally getting the chance to engage in basic fact discovery, albeit in a
7    staged format due to Plaintiffs’ insistence that response cost discovery wait until later
8    this year. Defendants want to set a trial date in this matter to push this matter towards
9    resolution, either via settlement or through trial. Without a trial date, the parties will
10   not have the same urgency and pending deadlines that are necessary to get this case on
11   track.
12            Instead, this Court should set a trial date in January, 2025. A trial date in
13   January, 2025 permits the parties with time to conduct fact discovery and prepare their
14   respective cases for trial in this matter. Moreover, the trial date is sufficiently far out
15   so that it can accommodate Plaintiffs’ requested stay to conduct settlement procedures
16   in early 2023. The issues set forth in Plaintiffs’ position are not valid reasons for not
17   setting a trial date. If the possibilities set forth by Plaintiffs do occur, then the parties
18   can come before the Court to change the trial date as needed. However, this Court
19   should set a trial date to keep this case moving along in an orderly fashion. Lastly,
20   setting a trial date now negates the need for a status conference upon the conclusion of
21   the settlement stay specifically for the purpose of setting a trial date
22

23    DATED: February 28, 2022                   LATHROP GPM LLP
24

25                                         By:
                                                 /s/ Ronald A. Valenzuela
26                                               Nancy Sher Cohen
27                                               Ronald A. Valenzuela
                                                 Attorneys for Plaintiffs
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1    DATED: February 28, 2022           VAN NESS FELDMAN LLP
2

3                                 By:
                                        /s/ Brian L. Zagon
4                                       Brian L. Zagon
5                                       Attorney for Defendants
                                        Cal-Tron Plating, Inc.
6
     DATED: February 28, 2022           THE CRONIN LAW GROUP
7

8
                                  By:
9                                       /s/ Timothy C. Cronin
                                        Timothy C. Cronin
10
                                        Attorney for Defendant
11                                      Mid-West Fabricating Co.
12
     DATED: February 28, 2022           VAN RIPER LAW
13

14
                                  By:
15                                      /s/ David Van Riper
                                        David Van Riper
16
                                        Attorney for Defendant
17                                      Santa Fe Rubber Products, Inc.
18

19
     DATED: February 28, 2022           HAMRICK & EVANS LLP

20
                                  By:
21                                       /s/ Thomas P. Schmidt
22
                                        Thomas P. Schmidt
                                        Attorney for Defendant
23                                      Electronic Chrome & Grinding Co.,
24                                      Inc.

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1     DATED: February 28, 2022                WEISS & ZAMAN
2

3                                       By:
                                              /s/ Thomas J. Weiss
4                                             Thomas J. Weiss
5                                             Attorney for Defendant
                                              Vanowen Holdings, LLC
6

7
          CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
8
           I, Ronald A. Valenzuela, am the ECF user whose ID and password are being
9
     used to file this Joint Status Report. In compliance with C.D. Cal. Civ. L.R. 5-
10
     4.3.4(a)(2)(i), I hereby attest
      DATED: September         , 2021that I have THE
                                                 obtained the concurrence
                                                      CRONIN    LAW GROUP of each signatory to
11
     this
      By:document.                            /s/ Alan R. Johnston
12

13
                                              Alan R. Johnston
                                              Attorney for Defendant
14
                                              Mid-West/s/Fabricating
                                                          Ronald A. Co.
                                                                     Valenzuela
                                                        Ronald A. Valenzuela
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